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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

 INTERNATIONAL UNION OF                         Civil Action No. 2:23-cv-03689-KM-JRA
 OPERATING ENGINEERS LOCAL 825,

                        Plaintiff,

 v.                                                      AMENDED COMPLAINT


 INTERNATIONAL
 LONGSHOREMEN’S ASSOCIATION,
 INTERNATIONAL
 LONGSHOREMEN’S ASSOCIATION
 LOCAL 1233, INTERNATIONAL
 LONGSHOREMEN’S ASSOCIATION
 LOCAL 1235, AND INTERNATIONAL
 LONGSHOREMEN’S ASSOCIATION
 LOCAL 1804-1,

                       Defendants.

       Plaintiff, the International Union of Operating Engineers Local 825 (“Local 825” or

“Plaintiff”), by way of Amended Complaint against defendants, the International

Longshoremen’s Association (“ILA”), the International Longshoremen’s Association Local 1233

(“Local 1233”), the International Longshoremen’s Association Local 1235 (“Local 1235”), and

the International Longshoremen’s Association Local 1804-1 (“Local 1804-1”) (Local 1233,

Local 1235, and Local 1804-1 are, collectively, the “ILA Locals”) (the ILA and ILA Locals are,

collectively, “Defendants”), hereby states as follows:




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                                  NATURE OF THE ACTION

        1.     Plaintiff brings this action pursuant to Section 301 of the Labor-Management

Relations Act of 1947 (the “LMRA” or “Taft-Hartley Act”), 29 U.S.C. §185, seeking legal,

injunctive and equitable relief as a result of Defendants’ violations of a contract between Plaintiff

and Defendants.

                                 JURISDICTION AND VENUE

        2.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §§1331 and

1337, and Section 301 of the LMRA, 29 U.S.C. §185.

        3.     Venue properly lies in this District pursuant to Section 301 of the LMRA, 29

U.S.C. §185. Additionally, venue properly lies in this District pursuant to 28 U.S.C. §1391,

because a substantial part of the events or omissions giving rise to the claims occurred in this

District.

                                         THE PARTIES

        4.     Local 825 is a “labor organization” as defined in Section 2(5) of the LMRA, 29

U.S.C. §152(5), and represents employees in an industry affecting commerce as defined in

Section 502 of the LMRA, 29 U.S.C. § 142.

        5.     ILA is a “labor organization” as defined in Section 2(5) of the LMRA, 29 U.S.C.

§152(5), and has a principal place of business at 5000 West Side Avenue, North Bergen, New

Jersey 07047. Upon information and belief, ILA represents longshoremen, clerks, checkers, and

maintenance employees working on ships and terminals in ports, including at Port Newark and

Port Elizabeth in New Jersey.

        6.     Local 1233 is a “labor organization” as defined in Section 2(5) of the LMRA, 29

U.S.C. § 152(5), and has a principal of business at 19-33 Fenwick St. Newark, New Jersey



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07114. Upon information and belief, Local 1233 represents longshoremen who work at Port

Newark.

       7.      Local 1235 is a “labor organization” as defined in Section 2(5) of the LMRA, 29

U.S.C. § 152(5), and has a principal of business at 30 Hennessey Street, Newark, New Jersey

07105. Upon information and belief, Local 1235 represents longshoremen who work at Port

Newark.

       8.      Local 1804-1 is a “labor organization” as defined in Section 2(5) of the LMRA,

29 U.S.C. § 152(5), and has a principal of business at 5000 West Side Avenue, North Bergen, NJ

07047. Upon information and belief, Local 1804-1 represents longshoremen and maintenance

employees who work at Port Newark.

                               FACTS COMMON TO ALL COUNTS

Background

       The Installation of New Container Cranes at Port Newark

       9.      The present matter arises from the installation of two container cranes at the Port

Newark Container Terminal that is located at 241 Calcutta Street, Newark, New Jersey (the

“Terminal”).

       10.     Port Newark Container Terminal, LLC (“PNCT”) is the operator of the Terminal.

Upon information and belief, PNCT determined that it was necessary to install two new “Ship To

Shore” container cranes (the “Cranes”) at the Terminal, for purposes of (further) conducting

PNCT’s operations at the Terminal. Towards that end, sometime prior to December 2022, PNCT

entered into a contract with Liebherr Container Cranes, Ltd. (“Liebherr”), whereby Liebherr

agreed to manufacture, assemble and erect the Cranes at the Terminal, and PNCT agreed to pay

Liebherr for those services.



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       Liebherr’s Subcontract With Bay Crane Services, Inc.

       11.      Liebherr, in turn, entered into a Subcontract with Bay Crane Services, Inc. (“Bay

Crane”), whereby Bay Crane specifically agreed to provide labor, equipment, materials and

services that were necessary to assemble and erect the Cranes at the Terminal. Upon information

and belief, the services to be provided by Bay Crane included, inter alia: (a) assisting in

unloading shipments of equipment for the Cranes, (b) painting the Cranes, (c) mechanical

assembly of the Cranes, (d) electrical assembly of the Cranes, and (e) erection of the Cranes (the

“Crane Project” or “Project”).

       Bay Crane’s Collective Bargaining Agreement(s)

       12.      At all times relevant herein, Bay Crane has been a party to a Collective

Bargaining Agreement (“CBA”) with Local 825. That CBA covers workers engaged in the

operation of power equipment (as defined in the CBA), used in the construction, alteration and

repair of buildings, structures, bridges, bridge approaches, viaducts, shafts, tunnels, subways,

foundations, streets, highways, sewers, sewage disposal plants, filtering plants, incinerators,

piers, docks, dams, dredging, port works, river and harbor improvements, pipelines, pipeline

water crossings, temporary pipe fittings, sinking of wellpoints, all piping in connection with

wellpoints, burning and welding, installing, repairing and maintaining of all equipment, fitting

up, dismantling, repairing and maintaining and operating of machinery when done on the job,

and such other work as by custom has been performed by workmen in the fields of construction

outlined in the CBA (the “Covered Work”), anywhere within the State of New Jersey (including

Port Newark).




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       13.     The CBA contains specific provisions governing wages, hours, manpower

referrals, manpower staffing, manning and other working conditions of those Local 825 members

that are employed by Bay Crane and perform Covered Work.

       14.     The CBA was entered into for the purpose of, inter alia, preserving work

traditionally performed by Local 825 operating engineers, including work that should be

performed by Local 825 at Port Newark.

       15.     Upon information and belief, Bay Crane is also a party to CBAs with other labor

unions, including the International Union of Painters and Allied Trades, District Council 21,

Local 1331 (“Painters Local 1331”) and the International Association of Bridge, Structural,

Ornamental, and Reinforcing Iron Workers Local No. 11 (“Iron Workers Local 11”). Upon

further information and belief, these CBAs cover work that members of Painters Local 1331 and

Iron Workers Local 11 perform for Bay Crane throughout the State of New Jersey, including

work that the members of those unions perform for Bay Crane at Port Newark.

       Bay Crane’s Use of Unionized Labor for the Crane Project

       16.     The Crane Project required the performance of Covered Work as defined by the

CBA between Bay Crane and Local 825.

       17.     Consequently, in January 2023, Bay Crane contacted Local 825 Business

Representative Lino Santiago to generally discuss the nature of the Crane Project, as well as the

equipment and labor required to complete the Project. In relation thereto, Bay Crane: (a) advised

that the Crane Project was expected to take approximately twelve (12) to fourteen (14) weeks to

complete, and (b) indicated that several Local 825 operators would be used to perform work on

the Project.




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       18.    Upon information and belief, the Crane Project likewise required the performance

of work covered by: (a) the CBA between Bay Crane and Painters Local 1331, and (b) the CBA

between Bay Crane and Iron Workers Local 11.

       19.    Upon further information and belief, in or about January 2023, Bay Crane

separately spoke with representatives of Painters Local 1331 and Iron Workers Local 11, to

discuss the nature of the Project and the labor that Bay Crane would require from those unions to

complete the Project.

Defendants’ Agreements With Local 825, Painters Local 1331 and Iron Workers Local 11

       20.    The ILA Locals perform work at Port Newark. Upon information and belief, this

work includes maintenance, repairs and modifications of cranes located at the Port.

       21.    Since the work to be performed on the Crane Project quite obviously involved

cranes, Defendants, upon information and belief, sought to specifically delineate the scope and

duration of the work that the members of Local 825, Painters Local 1331 and Iron Workers

Local 11 would perform at the Project.

       22.    Upon further information and belief, Defendants sought to delineate the scope and

duration of this work for purposes of, inter alia, maintaining labor peace between Defendants

and Local 825, Painters Local 1331 and Iron Workers Local 11.

       23.    Consequently, upon information and belief, the ILA Locals caused and directed

PNCT’s Director of Engineering & Equipment Services, Calogero “Charlie” Ferlisi, to contact

Bay Crane and inform it that Defendants required all other trade union locals (including Local

825, Painters Local 1331 and Iron Workers Local 11), to enter into an agreement with

Defendants known as a Letter of Understanding (the “Agreement” or “LOU”).




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       24.     Upon information and belief, the specific purpose of this LOU was to identify

both the scope and duration of the trade unions’ work on the Project. Moreover, the LOU was

significant to maintaining labor peace between Defendants and the other trade union locals

working on the Project.

       25.     On January 18, 2023, Mr. Ferlisi presented Bay Crane with Defendants’ request

for the LOU.

       26.     On January 19, 2023, Bay Crane presented Local 825 with Defendants’ request

for the LOU.

       27.     On February 1, 2023, Local 825 accepted Defendants’ request, and entered into

the LOU with Defendants.

       28.     Consistent with the LOU’s intended purpose, the LOU between Local 825 and

Defendants expressly stated that it “is being provided to the International Longshoreman

Association (‘ILA’) to confirm that Local 825 signatory(s) have been hired by OEM [original

equipment manufacturer] Liebherr…to erect, assemble and weld 2 Ship to Shore cranes arriving

at PNCT starting March 2023.” Concomitantly, the LOU explicitly stated and “verif[ied] that

Local 825 will not retain any jurisdiction for future maintenance, repairs or modifications to this

equipment outside of the contracted scope of this [P]roject, and once the cranes have been

commissioned and accepted by PNCT.”

       29.     Through the LOU, Defendants acknowledged and agreed that Local 825 members

– employed by Bay Crane – would perform all Covered Work at the Project that was required by

the subcontract between Liebherr and Bay Crane. Defendants further acknowledged and agreed

“once the [C]ranes ha[d] been commissioned and accepted by PNCT,” Local 825 would “not

[have] any jurisdiction for future maintenance, repairs or modifications to” the Cranes.



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       30.     Painters Local 1331 likewise entered into an LOU with Defendants. This LOU

likewise stated that Painters Local 1331 had “been hired by OEM Liebherr…to erect, assemble

and weld 2 Ship to Shore cranes arriving at PNCT starting March, 2023.”               This LOU

correspondingly stated and “verif[ied] that…Painters Local 1331 will not retain any jurisdiction

for future maintenance, repairs or modifications to this equipment outside of the contracted scope

of this [P]roject, and once the cranes have been commissioned and accepted by PNCT.”

       31.     Iron Workers Local 11 also entered into an LOU with Defendants. This LOU

similarly stated that Iron Workers Local 11 had “been hired by OEM Liebherr…to erect,

assemble and weld 2 Ship to Shore cranes arriving at PNCT starting March, 2023.” This LOU

likewise stated and “verif[ied] that…Iron Workers Local 11 will not retain any jurisdiction for

future maintenance, repairs or modifications to this equipment outside of the contracted scope of

this [P]roject, and once the cranes have been commissioned and accepted by PNCT.”

       32.     Upon information and belief, Bay Crane provided each of these LOUs to PNCT

and Defendants, no later than February 1, 2023.

Defendants’ Breach of Its Agreement with Local 825

       33.     In or about March 2023, Bay Crane commenced work at the Project with Local

825 members. During the period from March 2023 to June 2, 2023, Local 825 performed its

work at the Project without disruption or interference. However, on or before June 2, 2023,

Defendants breached their LOU with Local 825 by engaging in efforts to remove (or cause the

removal of) Local 825 members from the Crane Project.

       34.     Upon information and belief, no later than June 2, 2023, Defendants told PNCT

(or otherwise caused PNCT to believe) that Defendants would strike or otherwise stop all work




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at Port Newark unless: (a) Local 825 workers were removed from the Project, and (b) ILA

workers were allowed to perform Local 825’s work at the Project.

       35.    Upon further information and belief, no later than June 2, 2023, Defendants also

directed or caused PNCT to: (a) stop all work at the Project, and (b) inform Bay Crane that all

Local 825 operators must leave the Project immediately due to a labor dispute between the ILA

and the International Union of Operating Engineers (“IUOE”) – a dispute that did not involve

Local 825, the ILA Locals, PNCT, or the Project.

       36.    As Defendants demanded, PNCT: (a) informed Bay Crane that all work was

stopped at the Project, and (b) told Bay Crane to remove all Local 825 operators from the

Project. PNCT also cancelled any further work involving Local 825 or Local 825 support at the

Project.

       37.    Bay Crane, in turn, informed Local 825 of PNCT’s work stoppage. Bay Crane

further advised Local 825 that all Local 825 operators must leave the Project immediately due to

“some sort of dispute, somewhere in the PNCT corporate universe between ILA and IUOE.”

       38.    On June 5, 2023, Business Representative Santiago informed PNCT that Local

825 was ready, willing and able to immediately resume work at the Project, pursuant to the scope

of work specified in the LOU between Defendants and Local 825.

       39.    On June 6, 2023, Business Representative Santiago informed Bay Crane that

Local 825 did not stop the work and that Local 825 was committed to fulfilling the work under

the terms of the LOU between Defendants and Local 825.

       40.    However, upon information and belief, Defendants continued to threaten PNCT

with a strike or other work stoppage, in order to force PNCT to cease doing business with Local

825 and Local 825 signatory contractors.



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       41.     Indeed, Defendants’ threats and coercion extended to all PNCT business at Port

Newark involving Local 825 members and signatory contractors.

       42.     For instance, PNCT had entered into a contract with Local 825 signatory

contractor Top Line Construction Corp. (“Top Line”), to perform milling and paving work as

part of PNCT’s “2023 Pavement Maintenance” project. However, on or before June 9, 2023,

PNCT advised Top Line that Local 825 members were not allowed at the Terminal due to the

ongoing “dispute [involving ILA] related to work on another terminal.” PNCT thus canceled Top

Line’s milling and paving work that was scheduled for June 9, 2023 and placed all of Top Line’s

work on hold until further notice.

       43.     Similarly, in or before June 2023, PNCT participated in telephone calls with

Local 825 signatory contractor Bruce R. Koerner Cranes & Equipment (“Koerner”), for purposes

of renting a crane. During those calls, PNCT asked Koerner whether it was a signatory of Local

825. Upon confirming that Koerner was signed with Local 825, PNCT informed Koerner that

Local 825 operators were not allowed at their facilities due to a dispute with the ILA and that

PNCT would rent cranes elsewhere.

       44.     Upon information and belief, Defendants are also attempting to coerce Bay Crane

into utilizing ILA operators (instead of Local 825 operators) to complete the Project.

       45.     Bay Crane opposed Defendants’ efforts. Upon information and belief, when Bay

Crane opposed Defendants’ efforts to complete the Project with ILA members, Defendants

began to pressure PNCT to fire Bay Crane from the Project and to contract with a crane company

not affiliated with Local 825 or bound to Local 825’s CBA to complete the Project. In this

regard, PNCT has brought Buckner Heavylift Cranes from North Carolina and Pennsylvania




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Crane Company from Pennsylvania to the Project, in an attempt to completely remove Bay

Crane (and its Local 825 operators) from the Project.

       46.     Upon information and belief, Defendants suggested to PNCT that an assignment

of the work to ILA members would be the only way the Project could be completed without

triggering the threatened work stoppage. In this regard, Defendants offered temporary

membership in Local 1804-1 to facilitate the hiring of non-Local 825 members to complete the

Project.

       47.     Upon information and belief, as a result of Defendants’ actions, PNCT directed

Liebherr to terminate Bay Crane from the Project if Bay Crane continues to refuse to use ILA

members to complete the Project. Upon further information and belief, Liebherr honored PNCT

directive and issued a notice to Bay Crane, advising that Bay Crane’s services at the Project

would be terminated effective July 21, 2023. However, the notice further indicated that Bay

Crane would be allowed to continue working on the Project if Bay Crane utilized ILA members

to complete the Project work.

       48.     The conduct of Defendants is designed to force PNCT to assign work to a

contractor signed with the ILA and not with Local 825, in breach of the LOU.

       49.     As a result of Defendants’ campaign to deny agreed-upon work in accordance

with the LOU, Local 825 has suffered and will continue to suffer damages. Local 825 members

have lost work opportunities, wages and benefits.

       50.     Additionally, Local 825 employees will lose future wages and benefits because of

Defendants’ efforts to prevent Local 825 employees and Local 825’s signatory contractors from

working at the Project and at other PNCT projects at other ports.




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       51.     Because Defendants’ conduct was willful and malicious, they are also liable for

punitive damages to Local 825.

       52.     Upon information and belief, Defendants have not attempted to disrupt or

otherwise interfere with the work being performed by Painters Local 1331 and Iron Workers

Local 11 at the Project.

                                          FIRST COUNT

          BREACH OF LABOR AGREEMENT BETWEEN LOCAL 825 AND ILA

       53.     Plaintiff repeats and realleges the allegations of Paragraphs 1 through 52 of the

Complaint as if fully set forth at length hereafter.

       54.     Section 301(a) of the LMRA, 29 U.S.C. § 185(a), allows labor organizations

representing employees in an industry affecting commerce to bring suits for violations of

contracts between labor organizations.

       55.     The LOU between Defendants and Local 825 is a “contract” that falls within the

scope of Section 301(a) of the LMRA, 29 U.S.C. § 185(a).

       56.     Pursuant to the LOU, Defendants expressly acknowledged and agreed that Local

825 members (employed by Bay Crane) would perform all Covered Work at the Project that was

required by the subcontract between Liebherr and Bay Crane. Defendants further acknowledged

and agreed “once the [C]ranes ha[d] been commissioned and accepted by PNCT,” Local 825

would “not [have] any jurisdiction for future maintenance, repairs or modifications to” the

Cranes.

       57.     Covered Work remains to be completed at the Project.

       58.     Since Covered Work remains to be completed, the Cranes have not been

commissioned and accepted by PNCT.



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       59.       In breach of their obligations under the LOU, Defendants have attempted to

secure for their members the Covered Work that Local 825 is to perform at the Project pursuant

to the subcontract between Liebherr and Bay Crane.

       60.       As a result of Defendants’ breach of their obligations under the LOU, Local 825

members have been wrongly deprived of work opportunities and have lost wages and benefits.

       61.       Local 825 has demanded that Defendants cease their breach of the LOU, but

Defendants have neglected, failed and refused, and continue to neglect, fail and refuse, to

cease their breach.

       62.       As a result of Defendants’ breach of the LOU, Local 825 has suffered and will

continue to suffer damages.

                                     PRAYER FOR RELIEF

       WHEREFORE, Local 825 demands judgment against Defendants on the First Count of

the Complaint:

       a.        Restraining and permanently enjoining Defendants from violating the LOU, and

adjudging Defendants bound by the terms of the LOU;

       b.        Granting judgment in favor of Local 825 for money damages in the amount of

lost wages, benefits (plus interest, liquidated damages and audit fees), dues, and assessments

for all affected bargaining unit members of Local 825;

       c.        For specific performance of the LOU;

       d.        Pre-judgment interest;

       e.        Post-judgment interest;

       f.        Reasonable attorneys’ fees and costs of suit; and




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        g.        For such other and further relief that this Court deems equitable, just and proper.


Dated: July 19, 2023             By:      /s/ Vincent M. Giblin
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                  CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

        I hereby certify that to the best of my knowledge, the matter in controversy is not the

subject of any other action pending in any court, and is not the subject of any pending arbitration

or administrative proceeding. I am not currently aware of any other party who should be joined

in this action.

        I certify under penalty of perjury that the foregoing is true and correct. Executed on this

19th day of July, 2023.


                                          /s/ Vincent M. Giblin
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